         Case 1:21-cv-02406-TJK Document 27 Filed 03/24/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NATIONAL ASSOCIATION OF
 REALTORS,

                        Petitioner,
                                                      Civil Action No. 1:21-cv-02406-TJK
 v.

 UNITED STATES OF AMERICA, et al.,

                         Respondents.



                                      NOTICE OF APPEAL

       Notice is hereby given that all Respondents in the above-named case hereby appeal to the

United States Court of Appeals for the District of Columbia Circuit from the order and judgment

entered in this action on January 25, 2023, Order, ECF No. 24; Mem. Op., ECF No. 25.


      March 24, 2023                              Respectfully submitted,

                                                  /s/ DANIEL S. GUARNERA
                                                  DANIEL S. GUARNERA (D.C. Bar No.
                                                      1034844)
                                                  Acting Chief, Civil Conduct Task Force
                                                  U.S. Department of Justice
                                                  Antitrust Division
                                                  450 Fifth St. NW
                                                  Washington, DC 20530
                                                  Tel: (202) 307-0077
                                                  Email: Daniel.Guarnera@usdoj.gov

                                                  JAMES C. LUH
                                                  Senior Trial Counsel
                                                  U.S. Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  1100 L St. NW
                                                  Washington, DC 20530
                                                  Tel: (202) 514-4938
                                                  E-mail: James.Luh@usdoj.gov

                                                  Attorneys for Respondents
